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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 MARTIN S. GRANOFF, AS TRUSTEE
 OF THE GRANOFF ACQUISITION                  Civil Action No. 20-
 TRUST,
                      plaintiff,
                                             Section                Division
 versus

 BUOYANCE, INC., CECIL E. ROE-     District Judge
 BUCK, LYDIA J. BREIGHNER, FLOAT
 NOLA LLC F/K/A FLOT NOLA LLC,
 IC FLOAT-CON LLC F/K/A IT FLOAT- Magistrate Judge
 CON LLC, THE FLOAT CONFER-
 ENCE LLC, RESET LLC, THE ROE-
 BUCK INSTITUTE LLC, BREIGHNER
 INSTITUTE LLC, AND INTERNA-
 TIONAL THERAPEUTIC FLOATA-
 TION CONFERENCE LLC,
                       defendants.


                                      COMPLAINT

       Plaintiff supports its right to recover variously from these defendants with these al-

legations of law and fact:

                                    Nature of the case

1.     The plaintiff seeks damages it incurred, and enhanced damages and attorney’s fees

       awardable, when it advanced considerable sums of money to certain defendants,

       ostensibly in return for the rights to installments on a promissory note given in a

       seller-financed sale of business assets which turned out to be a complete, criminal

       sham. The plaintiff also seeks to make other defendants liable under a group of com-




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     panies/single business enterprise theory, and also seeks Court orders regarding con-

     veyances to third parties in violation of various states’ prohibition(s) of fraudulent

     and improper conveyances designed to prejudice lawful creditors.

                                         Parties

2.   Plaintiff Martin S. Granoff (“Granoff”), appearing as Trustee of the Granoff Acqui-

     sition Trust (“GAT”), is a natural person of the full age of majority who keeps his

     domicile in Broward County, Florida. As GAT’s active trustee, Granoff’s control is

     sole, real, and substantial and he has full authority to seek this relief against these

     defendants.

3.   Named defendant is:

     a.     Lydia J. Breighner (“Breighner”), a natural person of the full age of majority
            who, upon information and belief, is domiciled and resides in Orleans Parish,
            Louisiana.

     b.     Breighner Institute LLC (“Breighner Institute”), a juridical person organized
            in and under the laws of the State of North Carolina. Before it was adminis-
            tratively dissolved in October 2019, Breighner Institute had two members
            (co-defendants Breighner and Roebuck) and a registered office in Mecklen-
            burg County, North Carolina.

     c.     Buoyance, Inc. (“Buoyance”), a juridical person incorporated in and under
            the laws of the State of North Carolina. Before it was administratively-dis-
            solved in June 2019, Buoyance’s principal place of business was in Mecklen-
            burg County, North Carolina.

     d.     The Float Conference LLC (“Float Conference”), a juridical person organized
            in and under the laws of the State of North Carolina. Before it was adminis-
            tratively dissolved in October 2019, Float Conference had a single member
            (co-defendant Roebuck) and registered offices in Mecklenburg County,
            North Carolina and East Baton Rouge Parish, Louisiana.

     e.     Float Nola LLC (“Float Nola”), a juridical person organized in and under the
            laws of the State of Louisiana which, upon information and belief, has a sin-
            gle member (co-defendant Roebuck) and a registered office in Orleans Parish,


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            Louisiana. Until an April 2020 name change, Float Nola was known as Flot
            Nola LLC.

     f.     IC Float-Con LLC (“IC Float-Con”), a juridical person organized in and un-
            der the laws of the State of Louisiana which, upon information and belief,
            has a single member (co-defendant Roebuck) and a registered office in Orle-
            ans Parish, Louisiana. Until an August 2018 name change, IC Float-Con was
            known as IT Float-Con LLC.

     g.     International Therapeutic Floatation Conference LLC (“ITFC”), a juridical
            person organized in and under the laws of the State of Louisiana which, upon
            information and belief, has a single member (co-defendant Roebuck) and a
            registered office in Orleans Parish, Louisiana.

     h.     Reset LLC (“Reset”), a juridical person organized in and under the laws of
            the State of Louisiana which, upon information and belief, has a single mem-
            ber (co-defendant Breighner) and a registered office in Orleans Parish, Loui-
            siana.

     i.     Cecil E. Roebuck (“Roebuck”), a natural person of the full age of majority
            who, upon information and belief, is domiciled and resides in Orleans Parish,
            Louisiana.

     j.     The Roebuck Institute LLC (“Roebuck Institute”), a juridical person orga-
            nized in and under the laws of the State of North Carolina. Before it was
            administratively dissolved in October 2019, Roebuck Institute had a single
            member (co-defendant Roebuck) and a registered office in Mecklenburg
            County, North Carolina.

                                     Jurisdiction

4.   The Court may exercise original jurisdiction over the subject matter of GAT’s civil

     claims under 28 U.S.C. § 1332(a) because the amount in controversy exceeds the

     sum or value of $75,000, exclusive of interest and costs and because the parties are

     completely diverse: the plaintiff is a Florida citizen and no defendant is a Florida

     citizen.




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                                                            Venue

5.       GAT’s claims should be heard in this Court under 28 U.S.C. § 1391(b)(2) venue

         principles because a substantial part of the events or omissions giving rise to GAT’s

         claims occurred, and a substantial part of property that is the subject of the action

         is situated in, this judicial district.

                                Martin Granoff; Granoff Acquisition Trust

6.       Since the early 80s Martin Granoff has been raising equity and debt capital for new

         and existing business ventures. In the early 90’s, Granoff expanded and began ac-

         quiring seller-financed business notes. Word spread and today, in the business con-

         text, 1 Granoff’s companies purchase (fully or partially) cash flow from seller-fi-

         nanced business notes, royalty streams, partnership buyouts payable over time,

         schools’ future interest in tuition payments, and many other cash flows payable over

         time where the payees have a real interest in immediate access to a lump-sum, pro-

         vided Granoff can properly vet the note payor.

7.       Granoff’s purchases range from the simple to the complex and a few years ago,

         Granoff’s companies purchased future judgment proceeds due from Syria, which

         proceeds were eligible for payment from the United States Victims of State Sponsored

         Terrorism Fund.

8.       Granoff and his businesses are highly regarded as lump sum payout specialists with

         a solid reputation and a long list of loyal clients including attorneys, accountants,



1
 Including contest winnings payable over time including             show winners, hole-in-one golf prizes, manufacturers'
state lotteries (in the early 90s many states didn’t have           and retailers' contests, restaurant contests, casino prizes
a lump sum option and Granoff’s companies were the                  (mainly big prize payout slot machine wins).
“go-to” source for lump-sum money), television game

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         financial advisors, cash flow brokers, and other professionals serving those with fu-

         ture payments due to them from various sources.

9.       The transaction at issue in this case involved GAT (Granoff Acquisition Trust) and

         Granoff is its trustee.

                                                       A schematic

10.      This case is about GAT’s purchase of $250,000 worth of note payments. The note

         (“First Float Note”) was given as part of a seller-financed transaction where defend-

         ant Buoyance sold North Carolina company First Float LLC all its business assets

         so First Float could run a float 2 and associated services 3 spa (where Buoyance had)

         in an upscale suburb of Charlotte.




2
  Float spas make use of isolation tank, often referred to      speleotherapy) is a form of alternative medicine which
as a sensory deprivation tank (also known as float tank,        makes use of salt. Halotherapy is an unproven treatment
float pod, float cabin, flotation tank, or sensory attenua-     that lacks scientific credibility. Spa owners attribute a
tion tank), which is a pitch-black, light-proof, soundproof     wide range of health benefits to halotherapy. Though spa
environment heated to the same temperature as the skin.         use has reportedly been used for millennia (back to 12th
Flotation tanks are widely advertised as a form of alter-       Century Poland, in which people were urged to bathe in
native medicine, but beneficial health effects are un-          mineral waters), modern history of halotherapy dates
proven. The tank is filled with 10 inches of water which        only to 1843, when a Polish physician named Feliks
contains enough dissolved Epsom salt to create a specific       Boczkowski promoted the idea of salt treatment after
gravity of approximately 1.275. This environment allows         noticing that workers at a salt mines, unlike other miners,
an individual to float effortlessly on the surface of the       did not have respiratory or lung problems.
water. The primary function of the isolation tank is to
                                                                3
eliminate as many of the external senses as possible.            Acupuncture, massage, skincare, body rituals, sauna,
They were first used in 1954 to test the effects of sensory     and oxygen bar.
deprivation. Associated “halotherapy” (also known as

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11.   The diagram below provides a basic overview of the transactions at play, each of

      which will be detailed in allegations that follow:


                                non-party
                          First Float (NC float
                               spa buyer)




                             First Float Note
                                ($250,000)




                         Δ Buoyance (NC float
                              spa seller)




                         1st ($192,000) and 2d
                          Partial ($66,247.70)
                              Assignments



                                 Π GAT




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                                First Float/Buoyance sale;
                                      First Float Note

12.   In the months leading up to January 31, 2018, non-party First Float LLC (“First

      Float”) and defendant Buoyance negotiated terms where First Float would purchase

      Buoyance’s business assets so it could continue to operate a float spa in Huntersville,

      a lakeside suburb of Charlotte, North Carolina.

13.   On or about January 31, 2018, First Float and Buoyance entered into an Asset Pur-

      chase Agreement and a Bill of Sale and Blanket Assignment (collectively “Buoyance

      Sale Docs”) to sell all Buoyance’s assets. The agreements clarified that First Float

      would occupy the leased space where Buoyance did business earlier and its purchase

      was of substantially all Buoyance’s business assets used for those purposes.

14.   According to the Buoyance Sale Docs and the representations made by Roebuck and

      Breighner in them, Buoyance’s assets were considerable: spa equipment, client lists,

      current memberships, and other related assets necessary to operate a flotation ther-

      apy (and related services) spa, along with goodwill. Everything in the deal was as-

      signed a dollar value.

15.   Upon information and belief, Roebuck and Breighner also repeatedly represented

      that the spa therapy business was in good financial health and that its assets had

      certain values and they specifically represented there were no undisclosed liabilities

      beyond those specifically referenced in the Buoyance Sale Docs.

16.   Besides the representations made in the Buoyance Sale Docs, Roebuck and Breighner

      gave First Float a “Confidential Memorandum” describing Buoyance’s gross annual



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      revenue ($208,000), the book value of the assets to be conveyed ($307,000) and the

      value of its client list ($15,000).

                                          New Orleans

17.   The day after the sale, Breighner and Roebuck organized Float NOLA and, since

      then, all their businesses’ activity (including Buoyance, who was under a noncompete

      with First Float) has been in the Greater New Orleans Metro Area.



                    Roebuck and Breighner hawk the First Float Note

18.   Although First Float paid $200,000 cash at closing, Roebuck and Breighner knew it

      wouldn’t be long before the First Float Note payments ceased – after all, they’d just

      sold $450,000 worth of snake oil.

19.   They needed to monetize the note stream before they were discovered and they

      shopped the First Float Note stream to note brokers, hoping to get a deeply-dis-

      counted lump sum now in return for the note payments they were due over the next

      several years.

20.   In late May 2018, Granoff was approached by a note broker with this to say about

      Breighner and Roebuck’s note:

             Marty:

             I hope all is well with you. I know it has been a while since last we spoke.
             I am writing you in regards to a business note submission that you will
             find below.

             Here is a business note for sale secured by a Therapeutic Hydro Spa in
             the outer Charlotte, NC metro area. The seller is looking for a partial
             offer but is willing to consider a full as well.



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      Cash Expectations of Seller

      The seller is wanting to generate about $120,000-$130,000 on a par-
      tial (24-36 month partial). The sellers are moving from NC to New
      Orleans this week and require funding.

      I spoke to the seller already and he has a family attorney that would be
      willing to collect payments on your behalf at his expense. This note is
      also secured by a 2nd lien on the guarantors primary residence located
      at: 12010 Journeys End Trl, Huntersville, NC 28078. Unfortunately
      this is not as useful as the seller hoped for as the value of the property
      will max
      around $275k (on the very high end) and the majority of the equity is
      encumbered by a 1st lien held by a local CU.

      Attached is the full file and pay history. There are 4 guarantors and
      they all live under one roof. Please let me know if you have any ques-
      tions.

      Business Information

      Exact Business Name: Buoyance Spa
      Business Address: 16501 Northcross Drive, Suite B
      City: Huntersville
      State: North Carolina
      Zip Code: 28078
      Country: United States
      Types of Business: Spa and Therapy
      Business Operating as Franchise: No
      Gross Annual Income: $250,000
      Annual Business Expenses: $80,000
      Net Operating Income: $170,000
      Total Dollar Value of All Business Assets: $100,000
      How Long in Business: 8 Years
      How Long at Location: 3.5 Years
      Business Location Is Leased By Borrower
      Terms of Lease
      Renewal Option(s): 2.5 years left on 5 year lease. Option to renew
      with a 3% increase.

      Sale Information

      Date of Sale: 01/31/2018
      Sales Price: $450,000

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             Down Payment: $200,000

             Note Information

             Original Note Amount: $250,000
             Position of Note: 1st
             Current Note Balance Owed: $ 236,253.56
             Interest Rate: 8%
             Payment Amount: $5,069.10
             Original Length: 60 Months
             First Payment Date: 03/01/2018
             Payment Frequency: Monthly
             No. of Payments Made: 4
             No. of Payments Remaining: 56
             Next Payment Due Date: 07/01/2018
             Are the Payments on Time: Yes
             Was there a U.C.C Filed & Recorded: Yes
             Balloon Payment Amount: N/A
             Balloon Due Date:

             Borrower Information

             Borrower Type: Corporate Entity (LLC with Guarantors )
             Borrower Name: First Float
             Is there a Personal Guarantee: Yes
             Did You Pull Credit on Borrower at the Time of Sale: Yes
             Borrower Credit Rating: Low to Mid 600/s on All
             Additional Comments on Transaction or Collateral: There is a lien on
             the borrower personal property in 2nd position in 12010 Journey's End
             Trail, Huntersville, NC 28078. 4 PGs. All guarantors live at same
             home with lien

21.    After Granoff had lengthy discussions with Roebuck and Breighner about their New

       Orleans plans, on July 14, 2018, GAT entered into an Agreement for Partial Assign-

       ment of Note Payments (“First Partial Assignment”) with Buoyance and its “family

       attorney,” Zachary Moretz.

22.    Under the First Partial Assignment, GAT would immediately advance $125,403 to

       Buoyance in return for the first $4000 paid toward the next 48 First Float Note

       payments.
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23.    Those payments would be made from First Float to attorney Moretz, who would act

       as a remitting agent, forwarding the payments to GAT.

24.    Buoyance expressly agreed that GAT’s identity would be kept from First Float and

       that, if First Float defaulted, it would pursue collection efforts as if the First Partial

       Assignment didn’t exist.

                     The payment stream; Second Partial Assignment

25.    When Buoyance approached GAT, the First Float Note wasn’t very old – First Float

       had made 4 payments of $5069.10 to Buoyance – and all on time.

26.    Under the First Partial Assignment, GAT was entitled to monthly $4000 of that

       $5069.10 payment beginning August 1, 2018.

27.    First Float made the payments, and Moretz forwarded them to GAT, for August

       2018-December 2018.

28.    Then, in late December 2018, GAT agreed to advance another $40,000 to Buoyance

       in return for the full monthly payment from First Float for 47 months (January 2019-

       November 2022)(“Second Partial Assignment”).

29.    Under the Second Partial Assignment, Buoyance also promised a UCC security in-

       terest in otherwise-unencumbered equipment, including 3 new float tanks ($32,000

       each), a new hydro tone spa tub ($42,000), 3 state of the art, new, heated, hydraulic,

       largest made massage tables ($8000 each), new facial equipment valued at $30,000,

       new apothecary furniture ($25,000), and new furniture ($32,000), all of which

       would be drawn up in a security agreement and UCC-1 financing statement prepared

       by Roebuck’s Louisiana attorney.

30.    GAT was paid its January 2019 – April 2019 stream payments as agreed.


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31.      At no point did Breighner or Roebuck even hint that the sale of Buoyance’s assets

         was a windfall, let alone that it stood on shaky ground because they’d misrepresented

         what was sold.

                                Buoyance, Roebuck, and Breighner exposed

32.      Once First Float purchased Buoyance’s assets and goodwill, it began operating as a

         floatation therapy center, providing wellness services to clients such as halo therapy,

         floatation therapy, massage therapy, and other therapy and wellness services and

         products from the location previously occupied by Buoyance.

33.      But almost everything Breighner and Roebuck said about Buoyance was false – and

         as Winter 2018 turned into Spring 2019, First Float began to realize:

         a.        Roebuck and Breighner had vastly overstated the value of the business and

                   assets. They’d also misrepresented the number of monthly memberships (i.e.

                   recurring): many had been cancelled, causing First Float to refund fees to

                   those clients. Before the Buoyance sale and during inspection and due dili-

                   gence periods, Roebuck and Breighner actively concealed the true nature of

                   the business and its assets, including the number of active memberships.

         b.        One of Roebuck and Breighner’s go-to shams was the “Groupon” scheme. 4

                   They’d sell discounted services in advance and then never perform them. This

                   was the case where First Float was saddled with customers demanding ser-

                   vices it would never be paid for, all of which was included in gross revenue

                   reports and none of which was described as services still owed.


4
         https://www.flotnolashop.com/shop/SALE/5
demonstrates they’re still doing this, even without a stu-
dio or any permits.

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 c.    Roebuck and Breighner also concealed and/or misrepresented the value of

       equipment by misrepresenting and/or concealing the debts on assets. Con-

       trary to promises made in the Buoyance Sale Docs, that there were no “un-

       disclosed liabilities,” the majority of the purchased business assets had out-

       standing debt on them.

 d.    Other assets, such as credit card processing accounts, were in default or they

       were out of warranty and not eligible for repair, none of which was disclosed

       and much of which was affirmatively represented.

 e.    The Buoyance Sale Docs and the due diligence period were fraught Breighner

       and Roebuck’s repeated denial or outright lies about and concealment of debt

       First Float unwittingly purchased.

 f.    Regulatory authorities contacted First Float: one of the treatment rooms and

       its equipment was not (and had never been) compliant with local health

       codes, and could not lawfully be used for its intended purpose.

 g.    Buoyance and its owners also breached representations in the Buoyance Sale

       Docs which stated... “The financial statements, income tax filings, and ac-

       counts reflect the actual activity in Seller's business for the period covered by

       the financial statements, and full and accurate copies of all revenue statements

       have been provided to buyer.” Upon information and belief, those financial

       statements and income tax filings provided were false and falsified, and had

       been submitted to the Internal Revenue Service.

 h.    In addition, Buoyance, Roebuck, and Breighner repeatedly breached the

       Buoyance Sale Docs by refusing to transfer and assign to First Float the lease


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              for the premises where Buoyance had operated its business. This conduct fla-

              grantly violated the Buoyance Sale Docs, which required “[s]eller shall rea-

              sonably cooperate with any request to assign the lease to Buyer...”

       i.     Roebuck and Breighner wrongfully and tortiously interfered with the Buoy-

              ance Sale Docs by preventing Buoyance from transferring that lease to First

              Float. And Buoyance, Roebuck and Breighner refused to cooperate, and be-

              came belligerent in their refusal to cooperate, with the assignment of the lease

              to First Float. In fact, Defendants Roebuck and Breighner threatened First

              Float they would not transfer the lease - breaching the Buoyance Sale Docs -

              because these individuals Defendant Roebuck wanted to retain the ability to

              "shut down" the buyer's business at any time he chose.

       j.     Among other things, Roebuck responded to First Float’s request with a text

              message that “we can get your name only on the lease as soon as I am paid

              off in full.” As this text message evidences, Roebuck breached the Buoyance

              Sale Docs and tortiously interfered with them by refusing to cooperate in

              transferring the lease as required by the Buoyance Sale Docs until certain con-

              ditions, that Roebuck had no right to insist upon, were met.

34.    Buoyance, Roebuck, and Breighner’s failure to disclose all liabilities, false represen-

       tations, refusal to reasonably cooperate with transferring the lease, and other related

       conduct, flagrantly and seemingly purposefully breached the Buoyance Sale Docs.

                          Roebuck’s criminal sabotage of the sale

35.    As First Float complained of the Buoyance sale rip-off, Roebuck and Breighner’s

       approach shifted toward scorched earth and deflection.


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36.    On or about May 16, 2019, Roebuck showed up unannounced at First Float’s spa

       and handed a letter to its Chief Marketing Officer, Tyler Johnson. According to

       Roebuck, Buoyance was on the lease and he was “evicting” First Float because First

       Float was late with its May 2019 First Float Note payment. Roebuck ordered First

       Float to vacate the building and cease operations. Johnson complied.

37.    Roebuck then had First Float’s locks changed, the security system administration

       put in his name, placing signs on the window stating that First Float was closed and

       that its clients and/or potential clients should call his cell phone for information.

       While he was there, Roebuck also unlawfully seized and converted certain personal

       property from First Float, taking it with him when he returned to Louisiana.

38.    Notably, the payment Roebuck complained of, which was destined for GAT’s ac-

       count, was apparently made.

39.    Having uncovered Roebuck and Breighner’s sham in the Buoyance sale, and in the

       wake of their criminal activity in May 2019, First Float has not made a payment on

       the First Float Note since, Roebuck and Breighner have since acknowledged that

       they have no right to the personal property (which they now claim they took to

       “preserve” the property), and First Float has instigated North Carolina state court

       civil proceedings against Buoyance and its owners for their fraud.

40.    It’s now clear to everyone that Roebuck and Breighner’s behavior came in apparent

       retaliation to First Float’s discovery it had been sold a worthless business. And upon

       information and belief, Roebuck and Breighner controlled Buoyance regarding the

       actions and omissions detailed above so much that Buoyance had no separate mind,

       will, or existence of its own, more specifically:


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       a.      Buoyance was inadequately capitalized;

       b.      Buoyance failed to comply with corporate formalities;

       c.      Roebuck and Breighner completely dominated and controlled Buoyance so it
               had no independent identity; and

       d.      Buoyance was not properly maintaining ordinary and necessary company rec-
               ords.

41.    Roebuck and Breighner used his control over Buoyance to act to further Roebuck

       and Breighner’s overall conspiracy.

                                    The payments stop

42.    Meanwhile and with no explanation, Roebuck’s “family attorney” Moretz unilater-

       ally terminated his intermediary duties on April 8, 2019, “outing” the arrangement

       to First Float and directing that payments be directly made to Roebuck for May

       2019.

43.    GAT wasn’t paid in May 2019.

44.    And despite promising to enforce the First Float Note as though the First Partial

       Assignment hadn’t happened, Buoyance and its owners did nothing but ensure GAT

       wouldn’t be paid - by their criminal behavior in First Float’s business in mid-May

       2019.

45.    Meanwhile, Roebuck’s Louisiana attorney made demand on First Float for the May

       2019 payment, curiously requesting that it be sent to Buoyance.

46.    It is unknown whether the May 2019 payment was made, but GAT has not been

       paid since April 2019 and it is believed that First Float will no longer pay the First

       Float Note on the worthless business it was sold.




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47.       At no point did Roebuck or Breighner indicate to GAT there were problems stem-

          ming from the sale that threatened its full consummation as it related to the First

          Float Note.

                                  The New Orleans business scheme;
                                   the “float conference” schemes

48.       The entire point of the First and Second Partial Assignments was to provide Roebuck

          and Breighner with capital to start their float spa business on Magazine Street in

          New Orleans.

49.       Indeed, the day after the sale of the North Carolina business to First Float, on Feb-

          ruary 1, 2018, Roebuck and Breighner organized First Float.

50.       And later in 2018, the two commenced to sell memberships and prepaid spa services

          in a non-existent float therapy spa in New Orleans, before even entering into a lease.

          They’re still doing this, permits and physical space to perform be damned. 5

51.       At least by mid-2018 and extending into 2020, Roebuck and Breighner advertised

          at least two sham therapeutic conferences, co-defendants Float Conference and

          ITFC. 6

52.       Each of these proposed conference entities solicited and received services and money

          from various venues, suppliers, and public subscribers, using both mail and internet

          solicitations. No such conferences were ever held and the solicited funds were di-

          verted to Roebuck and Breighner.




5                                                       6
    https://www.flotnolashop.com/shop/SALE/5                https://www.mapado.com/en/new-orleans/the-in-
                                                        ternational-therapeutic-floatation-conference-1

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                                   Roebuck’s assurances

53.    In August 2019, after learning of the May 2019 “eviction” fiasco and a resulting

       civil suit in North Carolina, GAT sent Buoyance and Roebuck notices of default

       regarding its failure to protect GAT and Buoyance’s rights under the First Float

       Note.

54.    Roebuck responded in writing he had hired an attorney and would litigate the matter

       in North Carolina:

               Great news!! My attorney there (in NC) is on my payroll, but
               he will be filing next week to collect all outstanding debt.

55.    Eventually, learned this was untrue and that Buoyance hadn’t even filed an answer

       in the North Carolina litigation.

56.    In November 2019, GAT demanded Buoyance and its owners:

          a. make payment on their arrearages under the First and Second Partial Assign-
             ments;

          b. provide GAT with an update on various Civil District Court (Orleans Parish)
             litigation which suggested eviction from their Magazine Street lease;

          c. provide GAT with a copy of the Magazine Street lease and any resulting con-
             sent judgments;

          d. provide GAT with the whereabouts of the UCC collateral securing its First
             and Second Partial Assignments;

          e. provide GAT with any lien documentation for other encumbrances on the
             collateral; and

          f. provide GAT with an update on Roebuck’s written promise that his North
             Carolina attorney would be “filing next week to collect all outstanding debt”
             [from First Float].

57.    Roebuck never answered and neither Roebuck nor Breighner ever informed GAT of

       the meaningful problems they were having with the First Float sale – or any of the


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        discoveries First Float had made or suggested in terms of the misrepresentations or

        fraud which appears to have permeated that sale.

                                            Float Nola’s demise

58.     Set out more fully in a related racketeering-based lawsuit [20-01472] brought in this

        Court by Float Nola’s former landlord on Magazine, the New Orleans business was

        likely a sham itself.

59.     Although Float Nola spent all of 2019 in and out of Court trying to avoid eviction

        for serious lease defaults, it still appears to have swindled some money out of online

        coupon purchasers on its way down.

60.     For its part, GAT offered to extend the terms on the First and Second Partial Ad-

        vances to help out. GAT also offered to consent to revise some faulty descriptions in

        the UCC it held (which was drafted by Roebuck/Buoyance’s attorney) which was

        noticed as a tenant default.

61.     Ultimately, Roebuck and Buoyance and their attorneys ignored GAT and, facing

        eviction, removed the UCC collateral securing the First and Second Partial Ad-

        vances. 7

62.     GAT doesn’t know where that equipment is but, in April 2020, Float Nola assumed

        its present name (it was Flot Nola LLC) and, upon information and belief, it appears

        intent on continuing its misdeeds.




7
  Float Nola recently took a devolutive appeal of the
state court eviction order.

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                                              Breighner’s home

63.     Upon information and belief, Buoyance and its owners were being infused with cash

        from all angles (including a buildout sum advanced by their Magazine Street land-

        lord) in 2018 and 2019, they weren’t paying any of their creditors and, at the same

        time, Breighner in May 2018 purchased a $590,000 home (“Charlotte Drive

        Home”) in New Orleans. 8

64.     Upon information and belief, the sums advanced from GAT to Buoyance were de-

        posited into Breighner’s account, or moved shortly after their deposit.

65.     Upon information and belief, Roebuck and Breighner are (and were when Breighner

        purchased the house) married and both live at the Charlotte Drive Home.

                           Single business enterprise/group of companies/
                        solidary liability/veil piercing/joint enterprise theory

66.     Owner liability/veil-piercing. Upon information and belief, Roebuck and Breighner

        so thoroughly controlled the other defendants (as Roebuck, Breighner, or both were

        the only managers or directors of each of the companies), those companies’ corpo-

        rate or LLC identities should be disregarded under a veil-piercing theory because,

        upon information and belief, Breighner and Roebuck’s control of EACH of those

        companies amounted to complete domination regarding the transaction(s) at issue

        (here, the Buoyance assets sale and the negotiation of the First and Second Partial

        Assignments and all the deceit which followed each, the owners’ repeatedly used this

        control to commit a wrong, or to violate a statutory or other duty in contravention




8
          http://qpublic9.qpublic.net/la_orleans_dis-
play.php?KEY=6123-CHARLOTTEDR

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       of the other party’s rights, and the wrong or breach of duty injured First Float, along

       the way, but more specifically GAT, a party, in this instance.

67.    Group of companies/single enterprise/joint enterprise theories. Not only did Roe-

       buck and Breighner’s conduct permit the Court to disregard the corporate or LLC

       identity of the companies they used to accomplish their improper ends, but they used

       multiple companies interchangeably during the process.

68.    Though its adoption under Louisiana law is somewhat questionable, under both

       North Carolina and Florida law, unrelated companies can be held liable for each

       other’s torts where they performed related activities through a unified operation or

       common control for a common business purpose.

69.    All the companies were used under the guise of science and therapy-backed sale of

       gift certificates and packages for service, all the companies were controlled by Roe-

       buck, Breighner, or some combination thereof, all the companies operated during

       the same periods of time, and all the companies ultimately served as little more than

       a pass-through conduit (often involving Roebuck and Breighner’s 11th-hour name

       change to throw off creditors or to permit new applications for funding or permit-

       ting) by which Roebuck and Breighner could collect money from the public seeking

       therapeutic services – all before closing shop and moving on.

70.    Discovery into the now-dissolved North Carolina companies (Float Conference,

       Buoyance, The Roebuck Institute, Breighner Institute) will no doubt reveal a sad trail

       of broken promises and small-time hucksterism. Small as they are, though, the ag-

       gregate was bundled, along with the Buoyance assets sale and the resulting First




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       Float Note, to coerce GAT into advancing substantial money, which ultimately

       wound up in the hands of Roebuck and Breighner.

71.    For nearly all the allegations, the Court should consider all the defendants a single

       entity, controlled by a conspiring duo, commingling other people’s money (here,

       GAT’s) after defrauding them in a variety of manners.

                                    COUNT ONE:
                                RESCISSION FOR FRAUD

72.    GAT incorporates by reference the allegations it made in ¶¶ 1-71, above, as though

       reproduced here in extenso.

73.    Buoyance and its owners Roebuck and Breighner so materially misrepresented their

       qualities as sellers and businesspeople, and so materially misrepresented the nature

       of the First Float Note and the underlying, mostly-fraudulent transaction, that it

       prevented GAT’s decision-maker, who himself has decades of experience in this in-

       dustry, from making an informed decision regarding the First and Second Partial

       Assignments.

74.    These defendants’ misstatements, and silence in the face of a duty to speak, amount

       to fraud, and that fraud is of the sort that goes to the very essence of this contract.

       That is, GAT wouldn’t have advanced these sums had it known of the true nature

       of Buoyance and its owners’ dealings with the North Carolina buyer (First Float).

75.    Rescission should be granted as to the First and Second Partial Assignments and all

       defendants should be ordered to repay the sums GAT advanced to the defendants,

       less the value of any note stream payments made in satisfaction of the contract(s).




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76.    Delay damages under Civil Code article 2000, or any applicable North Carolina or

       Florida law, should be awarded, consisting of interest at the statutory rate calculated

       retroactively to the advances from GAT to defendants.

77.    Compensatory damages and attorney’s fees should be awarded under Louisiana

       Civil Code Article 1958, or any analog applicable under North Carolina or Florida

       law.

                              COUNT TWO:
                    VIOLATION OF STATUTORY UNFAIR
               AND DECEPTIVE TRADE PRACTICES PROHIBITIONS

78.    GAT incorporates by reference the allegations it made in ¶¶ 1-77, above, as though

       reproduced here in extenso.

79.    Defendants’ behavior so far transcends even bad faith, and so far deviates from ac-

       ceptable business practices, and so fits fraud’s mold, it violates every potentially-

       applicable affected state’s (Florida, Louisiana, or North Carolina) public policy

       when it comes to protection of those who enter supposedly arms-length business

       transactions.

80.    Though the statutes vary, they all feature enhanced damages and attorneys fees, all

       of which should be awarded under the circumstances.

81.    To the extent required by statute, GAT will send a copy of this complaint to the

       various states’ Attorneys General, as the case may be, to perfect its right to enhanced

       damages, investigation, or other relief.




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                                COUNT THREE:
                        BAD FAITH BREACH OF CONTRACT

82.    GAT incorporates by reference the allegations it made in ¶¶ 1-81, above, as though

       reproduced here in extenso.

83.    In the alternative, if the Court refuses to award rescission, Buoyance, Roebuck, and

       Breighner should be cast, in solido or jointly-and-severally as the case may be, for

       their obvious, conspiratorial breach of the First and Second Partial Assignments by:

       a.     sabotaging the relationship with the note maker First Float;

       b.     refusing to make payments when First Float ceased doing so itself;

       c.     permitting its intermediary to violate the assignment agreement and reveal

              GAT’s identity and role;

       d.     refusing to enforce the First Float Note;

       e.     refusing to defend itself in the North Carolina litigation involving the First

              Float Note; and

       f.     refusing to respond to GAT’s request for status updates on the relationship

              with First Float, the North Carolina litigation with First Float, or anything at

              all since August 2019.

84.    Because these defendants’ breaches were made in bad faith, GAT’s damages both

       foreseeable and not foreseeable should be awarded.




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                            COUNT FOUR:
          VIOLATION OF UNIFORM FRAUDULENT CONVEYANCE ACT
                AND/OR LOUISIANA REVOCATORY ACTION

85.    GAT incorporates by reference the allegations it made in ¶¶ 1-84, above, as though

       reproduced here in extenso.

86.    It seems unlikely that Buoyance has, in its bank account, the funds GAT advanced

       it, minus the payments made on the stream.

87.    Upon information and belief, Buoyance is insolvent and has caused or increased its

       insolvency by transferring its property and money to other defendants who have

       either moved the money to other defendants or to third parties, or have entered

       transactions and transformed any funds into other types of property.

88.    Likewise, Buoyance is believed to have transferred or liquidated its non-money prop-

       erty, increasing or causing its insolvency.

89.    Upon information and belief, the funds advanced by GAT were received by defend-

       ant Breighner.

90.    Upon information and belief, Buoyance and its principals have conducted them-

       selves, as alleged in this Count Four, solely to deprive the growing list of their cred-

       itors from having any fair shot at collecting or enforcing judgments against them.

91.    This conduct violates both uniform fraudulent conveyance laws enacted in non-Lou-

       isiana states, and Louisiana’s revocatory action principles, and permits many of these

       transactions to be undone.

92.    To the extent the funds GAT advanced were accepted by Breighner, all other defend-

       ants are rightly joined as potential third-party transferees as contemplated by Flor-

       ida, North Carolina, and Louisiana (Civil Code Article 2042) law.


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93.     To the extent the funds GAT advanced were accepted by Buoyance, all other defend-

        ants are rightly joined as potential third-party transferees as contemplated by Flor-

        ida, North Carolina, and Louisiana (Civil Code Article 2042) law.

                                      COUNT FIVE:
                                      CONVERSION

94.     GAT incorporates by reference the allegations it made in ¶¶ 1-93, above, as though

        reproduced here in extenso.

95.     Upon information and belief, Buoyance made a written demand to First Float for

        the May 2019 installment on the First Float Note.

96.     To the extent Buoyance or any other defendant took delivery of that payment, it

        constitutes conversion because only GAT had a right to be paid those sums under

        the First and Second Partial Assignments.

97.     Upon information and belief, other payments were made from First Float to Buoy-

        ance or its principals, and any acceptance by the latter under the circumstances con-

        stitutes conversion.

98.     As a tort matter, Buoyance and the other defendants should be ordered to account

        and make restitution for the funds they converted, if any.

                                   COUNT SIX:
                            TORTIOUS INTERFERENCE
                     WITH BUSINESS RELATIONS OR CONTRACT


99.     GAT incorporates by reference the allegations it made in ¶¶ 1-98, above, as though

        reproduced here in extenso.

100.    Defendants Roebuck and Breighner completely controlled Buoyance, which was a

        party to the First and Second Partial Assignments and the First Float Note.

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101.    Roebuck and Breighner purposefully sabotaged all aspects of both agreements, and

        they caused Buoyance to fail in every performance duty in these contracts.

102.    There were no commercially-reasonable justifications for Roebuck and Breighner’s

        behavior, and it can only be concluded that their motivations were tortious and were

        intent to cause serious damage to every business involved in these agreements.

103.    These actions have had dire consequences for GAT, and these defendants should be

        ordered to pay the resulting damages GAT has suffered.

                                  COUNT SEVEN:
                           BREACH OF FIDUCIARY DUT(IES)

104.    GAT incorporates by reference the allegations it made in ¶¶ 1-103, above, as though

        reproduced here in extenso.

105.    Under the First and Second Partial Assignments and all resulting circumstances, Roe-

        buck and Breighner owed GAT a fiduciary duty, not the least of which was to be

        open about the prospect of being paid on the First Float Notes. They also owed

        duties to keep Buoyance in the note maker’s good graces and to not disclose that

        Buoyance had “already been paid” on the First Float Note, and that some third-

        party Florida banker owned the rights now.

106.    These defendants also owed GAT a duty to enforce the First Float Notes.

107.    Rather than discharging these duties, these defendants openly lied to GAT, sabo-

        taged Buoyance’s relationship with First Float by open criminal activity at its place

        of business, employed a scorched-earth approach toward the credit facility, and have

        failed to rehabilitate the relationship with First Float so GAT stands any chance of

        being paid.



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                                 COUNT EIGHT:
                           ENRICHMENT WITHOUT CAUSE

108.    GAT incorporates by reference the allegations it made in ¶¶ 1-107, above, as though

        reproduced here in extenso.

109.    Because these defendants, in solido and as a single, commingling, quasi-criminal con-

        spiratorial, single entity, have been enriched, and because GAT has been impover-

        ished in a corresponding manner, and because there is no just reason, and where the

        Court finds there to be no other remedy at law, the Court should award GAT dam-

        ages to rectify the imbalance according to applicable law.

Wherefore, Martin S. Granoff, as Trustee of the Granoff Acquisition Trust, requests that

his allegations be deemed good and sufficient, that this Complaint be assigned a cause num-

ber, section, and division, and that after all legal delays and proceedings are had, the Court

grant relief in its favor, and against the defendants, for all relief allowable, whether con-

tractual, legal, equitable, or customary, including without limitation costs under Fed. R.

Civ. P. 54(d).

                                           Respectfully submitted,

                                              /s/ Andrew T. Lilly
                                           Andrew T. Lilly (La. 32559)
                                           4907 Magazine Street
                                           New Orleans, Louisiana 70115
                                           t: (504) 812-6388
                                           f: (504) 539-4180
                                           e: andrew@atlpllc.com

                                           Attorney for plaintiff Martin S. Granoff, indi-
                                           vidually and as trustee of the Granoff Acquisi-
                                           tion Trust




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